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                                   STATEMENT OF FACTS

       Your affiant,                  , is a Special Agent with the Federal Bureau of Investigation.
I have been in this role since 2022. I am currently assigned to the Chicago Field Office, where I
am part of the Counter Terrorism Unit, on the All Hazard Assessment Squad. In my duties as a
Special Agent, I investigate criminal violations relating to domestic terrorism. Currently, as part
of my duties, I am tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

                  Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                     Facts Specific to Emil Kozeluh and Michael Mollo, Jr.

        As set out in more detail below, based on my review of publicly available video footage,
United States Capitol Police (“USCP”) surveillance footage, and body worn camera (“BWC”)
footage of police officers who responded to the United States Capitol on January 6, 2021, I have
observed two individuals – later identified as Emil Kozeluh (“Kozeluh”) and Michael Mollo, Jr.
(“Mollo”) – among a large group of rioters who committed illegal acts there that day. Specifically,
Kozeluh and Mollo illegally entered the U.S. Capitol grounds and building despite clearly marked
signage and numerous other indicators that the area was closed to the public, and physically
interfered with police officers who were responding to the riots at the U.S. Capitol.

       A.      Identification of Kozeluh and Mollo

         Emil Kozeluh initially came to the FBI’s attention when a personal acquaintance of
Kozeluh (“Witness 1”) contacted the FBI about Kozeluh’s involvement in the January 6, 2021
riots at the U.S. Capitol building. Specifically, Witness 1 reported that Kozeluh had sent Witness
1 a photo and video of himself in and around the U.S. Capitol building on January 6, 2021 via text
message and referenced having been present for the riots there that day.




                          Images 1 & 2 – Video Still and Photograph
            Kozeluh Sent Witness 1 of Himself at the U.S. Capitol on January 6, 2021
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       Witness 1 provided those images to the FBI. Your affiant has confirmed that Emil
Kozeluh’s appearance in those images matched the appearance of the individual in the Capitol
footage. Additionally, your affiant has reviewed Kozeluh’s Illinois driver’s license photo and
confirmed that the individual in the images provided by Witness 1 and the Capitol footage was, in
fact, Emil Kozeluh.

        Based on my review of publicly available video footage, USCP surveillance footage, and
BWC footage from January 6, 2021, I have learned that, on that day, Kozeluh was wearing a black
zip up Carhartt brand jacket over a dark sweatshirt with American flag patterned lettering, dark
pants, dark sneakers, a red baseball cap that read “Trump ***2020*** NO MORE BULL SHIT,”
and a bright yellow balaclava, as depicted below:




                  Image 3 – Kozeluh Inside the U.S. Capitol on January 6, 2021

        Michael Mollo, Jr. initially came to the FBI’s attention when a personal acquaintance of
Mollo (“Witness 2”) contacted the FBI about Mollo’s involvement in the January 6, 2021 riots at
the U.S. Capitol building. Specifically, Witness 2 told the FBI that Mollo “was at the [J]anuary 6th
insurrection in 2020 (sic) and stormed the [C]apitol.”

       According to records obtained through a search warrant served on Verizon on January 6,
2021, in and around the time of the incident, the cellphone associated with the phone number 708-
###-8644 (“the 8644 number”) was identified as having utilized a cell site consistent with
providing service to a geographic area that included the interior of the United States Capitol
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Building. 1 According to records obtained from Verizon through legal process, at the time of
January 6, 2021, the account for the 8644 number – as well as two other phone numbers – belonged
to Mollo’s wife at an address in Oak Lawn, IL (“the Oak Lawn address”). However, according to
those same records, Verizon ceased providing service to the 8644 number in February of 2024.

        According to records obtained from AT&T through legal process, in February of 2024, the
8644 number was ported over to AT&T for service. The listed user for the 8644 number under
AT&T at that time and as of when these records were received in August of 2024 is Michael Mollo
of the Oak Lawn address. Additionally, according to records obtained from Apple, Inc. through
legal process, the 8644 number is the verified phone number, FaceTime number, and iMessage
number associated with “Mike Mollo” of the Oak Lawn address. As of June 6, 2024, Mollo was
receiving unemployment checks at the Oak Lawn address. The 8644 number also corresponds to
a Telegram account with the display name “Mike Mollo.”

        On October 20, 2024, a Special Agent with the FBI conducted surveillance at the Oak
Lawn address. Parked in front of the residence was a black GMC truck bearing Illinois license
plate ###0243. 2 According to records from the Illinois Department of Vehicle Services, as of 2024
that vehicle is registered to Michael Mollo at the Oak Lawn address. A male matching Mollo’s
description was taking items out of the truck bed. He was assisted by three females (presumably
his wife Carrie and their two daughters, who also live at that address), who were going in and out
of the residence. That FBI Special Agent confirmed that the male who he observed at the Oak
Lawn address that day matched the appearance of the individual in the Capitol footage.
Additionally, that FBI Special Agent has reviewed Mollo’s Illinois driver’s license photo and
confirmed that the individual who was at the Oak Lawn address that day and is depicted in the
Capitol footage was, in fact, Michael Mollo, Jr.

        Based on my review of publicly available video footage, USCP surveillance footage, and
BWC footage from January 6, 2021, I have learned that, on that day, Mollo was wearing a black
long sleeved shirt under a black vest with bright yellow inside lining, blue jeans, black sneakers, a
dark bandana with a white “1776” design, olive green reinforced knuckle gloves, and a yellow
Gadsen “DON’T TREAD ON ME” flag as a scarf, as depicted below:




1
  Here, the “###” indicates that a portion of the phone number has been redacted for purposes of
this Court filing. Your affiant knows the true phone number.
2
 Here, the “###” indicates that a portion of the license plate number has been redacted for
purposes of this Court filing. Your affiant knows the true license plate number.
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                 Images 3 & 4 – Mollo at the U.S. Capitol on January 6, 2021

       B.     Kozeluh and Mollo’s Conduct on January 6, 2021

        I have reviewed CCV, BWC, and open-source footage and traced Kozeluh and Mollo’s
path while they were on the grounds of the U.S. Capitol Building on January 6, 2021. Open source
footage shows Kozeluh approached the Capitol near the Peace Circle, walking past bike rack
barriers. BWC and open source footage then shows Kozeluh and Mollo together on the Lower
West Terrace of the U.S. Capitol at roughly 2:00 p.m. when Civil Disturbance Unit (“CDU”) 42
of the Metropolitan Police Department (“MPD”) was surrounded by angry rioters – including
Kozeluh and Mollo. At points, flashbangs can be heard and smoke is visible in the air.

        BWC shows Kozeluh and Mollo facing off with CDU 42 officers in the crowd. Both men
yelled at the officers repeatedly. Kozeluh gave the officers the middle finger.
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     Images 5 & 6 – Kozeluh Flipping Off CDU 42 at the U.S. Capitol on January 6, 2021

       Mollo repeatedly yelled at the CDU 42 officers, saying, “They’re stealing our country!”
while using his upper body to make physical contact with one MPD officer’s back and putting his
hands on MPD Officer A.I.’s hand and baton he was holding. Officer A.I. said to Mollo, “You see
what you’re doing?” Officer A.I. then gestured to his camera and said, “You’re on camera.” In
response, Mollo backed up and responded, “No, I ain’t do nothing,” and then pulled up his mask
to cover his face.




   Images 7, 8, & 9 – Mollo Facing Off With CDU 42 at the U.S. Capitol on January 6, 2021

        From there, Kozeluh and Mollo climbed a set of steps on the northwest side of the Capitol
building under the scaffolding that was in place as part of the construction in preparation for the
inauguration. From there they made their way to the Upper West Terrace, where they are depicted
just above rioters who were climbing up the Capitol walls.
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Image 11 – Kozeluh & Mollo Helping Push Open the Rotunda Lobby Doors on January 6, 2021

        Open source video indicates that at that time and location a loud alarm was sounding,
rioters were breaking Capitol windows, and USCP officers were being overrun by the rioters. At
2:38 p.m., after rioters successfully helped open the Rotunda Lobby Doors for the rioters outside,
CCV shows both men appeared to celebrate; Kozeluh jumped and Mollo put his arms in the air.

       Then at 2:41 p.m., CCV shows Kozeluh used his body to prop the Rotunda Lobby doors
open, even as USCP tried to close them from the outside. Kozeluh motioned to the rioters past the
USCP Officers who were attempting to close the doors, directing those rioters to bypass the USCP
Officers and enter the building.

        Finally, CCV shows Kozeluh and Mollo exited the Rotunda Lobby Doors on the east side
of the Capitol at approximately 2:47 p.m., after almost a half an hour inside the building. After
exiting, open source video shows Mollo giving another rioter a high-five and repeatedly shouting
“This is our house!” outside of the Rotunda Lobby Doors.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Emil Kozeluh violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
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or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Emil Kozeluh violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Your affiant submits there is probable cause to believe that Emil Kozeluh violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Michael Mollo, Jr. violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Michael Mollo Jr. violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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        Your affiant submits there is probable cause to believe that Michael Mollo, Jr. violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.




                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of November 2024.                                  Digitally signed by
                                                                             Matthew J. Sharbaugh
                                                                             Date: 2024.11.05
                                                                             11:18:53 -05'00'
                                                      ___________________________________
                                                      MATTHEW J. SHARBAUGH
                                                      U.S. MAGISTRATE JUDGE
